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19 Interim Lead Plaintiffs’ Counsel

20                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
21
                                                Case No. 4:18-cv-02931-HSG
22 IN RE UBER TEXT MESSAGING
                                                STIPULATION AND ORDER REGARDING
23                                              BRIEFING SCHEDULE FOR DEFENDANT’S
                                                MOTION TO COMPEL ARBITRATION AS
24                                              TO PLAINTIFF CHISTOPHER ZIERS
25
                                                Judge: Hon. Haywood S. Gilliam, Jr.
26

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             STIPULATION AND ORDER REGARDING BRIEFING SCHEDULE
                          CASE NO. 4:18-CV-02931-HSG
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 1           Plaintiffs Wanda Rogers and Christopher Ziers (“Plaintiffs”) and Defendant Uber

 2   Technologies, Inc. (“Defendant”) hereby stipulate and agree as follows, and request entry of the

 3   below proposed order approving their stipulation.

 4          WHEREAS, on November 1, 2018, Uber filed a Motion to Compel Arbitration as to

 5   Plaintiffs Lucius Manning (“Manning”), Andrew Katzman (“Katzman”), and Carla Vario

 6   (“Vario”), and to stay the action, including the claims of Plaintiffs Wanda Rogers (“Rogers”) and

 7   Christopher Ziers (“Ziers”), pending arbitration. Dkt. No. 57. The motion is set for a hearing on

 8   February 14, 2019. Id.;

 9          WHEREAS, Plaintiffs Manning, Katzman, and Vario voluntarily dismissed their claims in

10   this action without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) on

11   November 9. Dkt. No. 58;

12          WHEREAS, Uber now intends to file a motion to compel Ziers to arbitrate his claims;

13          WHEREAS, the parties are presently scheduled to appear before this Court on February

14   14, 2019, for a hearing on Defendant’s previously filed Motion to Stay (Dkt. No. 56) and Motion

15   to Compel Arbitration (Dkt. No. 57); and

16          WHEREAS, the parties have met and conferred and agree that judicial efficiency will be

17   served by agreeing to a briefing schedule for Uber’s Motion to Compel Arbitration as to Ziers;

18          NOW THEREFORE, the parties hereby stipulate to and request entry of an order:

19   1) withdrawing Uber’s Motion to Compel Arbitration as to Plaintiffs Manning, Katzman, and

20   Vario (Dkt. No. 57); and 2) setting the following briefing and hearing schedule for Defendant’s

21   Motion to Compel Arbitration as to Ziers:

22    Filing/Event                                       Deadline
      Defendant’s Motion to Compel Arbitration as        December 17, 2018
23
      to Ziers
24    Plaintiffs’ Opposition to Defendant’s Motion       January 11, 2019
      to Compel Arbitration as to Ziers
25
      Defendant’s Reply in Support of Defendant’s        February 4, 2019
26    Motion to Compel Arbitration as to Ziers
27

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              STIPULATION AND ORDER REGARDING BRIEFING SCHEDULE
                                                                                                         2
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 1   Subject to the Court’s availability and schedule for considering the parties’ briefs in advance of a

 2   hearing, the Parties further request that the Court hear the forthcoming Motion to Compel as to

 3   Plaintiff Ziers on February 14, 2019, the date previously noticed for the hearing on Uber’s Motion

 4   to Compel as to Plaintiffs Manning, Katzman, and Vario (Dkt. No. 57).

 5

 6

 7   Dated: December 17, 2018                      Respectfully submitted,
 8                                                 By:      /s/ Simon S. Grille
 9                                                 Daniel C. Girard (State Bar No. 114826)
                                                   Angelica M. Ornelas (State Bar No. 285929)
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26
                                                   Interim Lead Plaintiffs’ Counsel
27
     Dated: December 17, 2018                      By:     /s/ Adam J. Hunt
28
              STIPULATION AND ORDER REGARDING BRIEFING SCHEDULE
                                                                                                            3
                            Case No. 4:18-cv-02931-HSG
      Case 4:18-cv-02931-HSG Document 65 Filed 12/18/18 Page 4 of 5



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11
                                                  Attorneys for Defendant Uber Technologies, Inc.
12

13                                           ATTESTATION

14         I, Simon S. Grille, am the ECF user whose identification and password are being used to

15   file this Stipulation and [Proposed] Order Regarding Briefing Schedule for Defendants’ Motion

16   to Compel Arbitration as to Ziers. I attest under penalty of perjury that concurrence in this filing

17   has been obtained from all signatories above.

18

19   Dated: December 17, 2018                                     /s/ Simon S. Grille

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             STIPULATION AND ORDER REGARDING BRIEFING SCHEDULE
                                                                                                            4
                           Case No. 4:18-cv-02931-HSG
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 1                                                ORDER

 2         This matter is before the Court on the Parties’ Stipulation and [Proposed] Order Regarding

 3   Briefing Schedule for Defendants’ Motion To Compel Arbitration as to Ziers. The Court, having

 4   considered the parties’ Stipulation, adopts the following briefing schedule:

 5
     Filing/Event                                       Deadline
 6   Defendant’s Motion to Compel Arbitration As        December 17, 2018
     To Ziers
 7
     Plaintiffs’ Opposition to Defendant’s Motion       January 11, 2019
 8   to Compel Arbitration As To Ziers
 9   Defendant’s Reply in Support of Defendant’s        February 4, 2019
     Motion to Compel Arbitration As To Ziers
10
     Hearing on Defendant’s Motion to Stay the          February 14, 2019
11   Proceedings

12

13   IT IS SO ORDERED.

14
     DATED: December 18, 2018                       __________________________________
15
                                                        Honorable Haywood S. Gilliam, Jr.
16                                                      United States District Judge

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                         ORDER REGARDING BRIEFING SCHEDULE
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                               Case No. 4:18-cv-02931-HSG
